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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                           June 13, 2017
                            UNITED STATES DISTRICT COURT
                                                                                        David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §           CRIMINAL ACTION H-14-171-11
                                                 §
CHERYL WALLER on bond                            §

                            M EMORANDUM O PINION AND O RDER

       Pending before the court is a motion for judgment of acquittal or, in the alternative, motion

for new trial, which was timely filed by defendant Cheryl Waller’s trial counsel on March 8, 2017.1

Dkt. 610. The United States of America (the “Government”) filed a response to the motion on

March 24, 2017. Dkt. 621. In the interim, Waller had filed a motion to substitute attorney, which

the court granted on April 5, 2017. Dkts. 619, 627. In the order granting the motion to substitute

counsel, the court extended the deadline for briefing on post-trial motions until May 5, 2017.

Dkt. 627. Waller’s new counsel filed a motion for judgment of acquittal or in the alternative a new

trial on May 4, 2017. Dkt. 650. The court construes the May 4 motion as an amended motion that

replaces the motion filed by Waller’s trial counsel.2 After considering the motion, response, reply,

and applicable law, the court is of the opinion that the motion should be DENIED.

                                        I. BACKGROUND

       The superseding indictment alleges that from March 2005 through April 2012 Waller and

her co-defendants, all of whom pled guilty prior to trial, conspired to defraud the United States in



       1
          Waller’s counsel also filed a “supplement” to the motion on March 13, 2017, which he
incorrectly identified in the court CM/ECF system as another motion for judgment of acquittal.
Dkt. 611.
       2
        Any references to the “motion” from this point forward relate to the May 4 motion, not the
March 8 motion.
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violation of 18 U.S.C. § 371 to violate 42 U.S.C. § 1320a-7b(b)(1) & (b)(2) by soliciting and

receiving kickbacks and bribes in return for referring individuals for the furnishing of an item or

service paid for by Medicare, and for arranging for any good, item, or service paid for by Medicare

(the “Conspiracy Count”). Id. at 10. It also alleges the Waller violated 42 U.S.C. § 1320a-7b(b)(2),

which involves offering or paying kickbacks and bribes for the same (the “Kickback Count”).

       According to the superseding indictment, Waller owned a personal care home (“PCH”) and

was a patient advocate for Continuum Healthcare, LLC (“Continuum”), which owned and operated

three Community Mental Health Centers in the Greater Houston Area, including Westbury

Community Hospital (“Westbury”). Dkt. 136 at 6, 8. Westbury is a Partial Hospitalization Program

(“PHP”) under Medicare Part B. Medicare Part B covers PHPs connected with the treatment of

mental illness. Eligible patients are those who are discharged from an inpatient hospital treatment

program who use the PHP in lieu of continued inpatient treatment or patients who would require

inpatient hospitalization without the PHP. Id. at 2.

       The    superseding    indictment   alleges      that   Waller   received   $118,000.00   from

Continuum/Westbury in exchange for referring her clients for PHP services at Continuum/Westbury.

Id. at 17. Waller’s co-defendants, Edson and Parsons, allegedly billed Medicare approximately $4.7

million for PHP services allegedly needed by Waller’s clients. Id. Edson and Parsons received $1.7

million from Medicare for these services. Id. at 18.

       With regard to the Conspiracy Count, Waller’s alleged overt act in furtherance of the

conspiracy was to receive, on June 11, 2010, $2,044.00 from Edson and Parsons in exchange for

referring Medicare beneficiaries to Continuum for PHP services. Id. at 21.




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        With regard to the Kickback Count, Waller, Edson, and Parsons allegedly paid or received

remuneration in violation of 42 U.S.C. § 1320a-7b(b)(1) & (b)(2) and 18 U.S.C. § 2. Id. at 22. The

amount alleged is $2,044.00 on June 11, 2010. Id. at 23.

        Waller was tried before on a jury from February 27, 2017 through March 1, 2017. A

unanimous jury found Waller guilty of Count One (the Conspiracy Count) and Count Nine (the

Kickback Count) on March 1, 2017. Dkt. 607.

        Waller moves for a new trial under Rule 33 of the Rules of Criminal Procedure, arguing that

the court should vacate the judgment and grant a new trial because the verdict was against the

interest of justice. Dkt. 650 at 5. She notes that she did not object to the jury instructions at trial,

but asserts that the court should nevertheless find “plain error” because the instructions omitted two

essential elements of the anti-kickback statute—specific intent and materiality. Id. at 6–7. Since

both the Kickback Count and the Conspiracy Count depend on a violation of the anti-kickback

statute, Waller asserts that the jury’s verdict on both counts should be vacated. Id. at 7.

        The Government argues that the motion should be denied because neither of the reasons

asserted by Waller are grounds for granting a new trial after a guilty verdict. Dkt. 667. The

Government points out that the Fifth Circuit Pattern Jury Charge does not require specific intent in

the listed elements for conspiracy to defraud the United States, 18 U.S.C. § 371. Id. It also argues

that the Fifth Circuit and the United States Supreme Court disagree with Waller’s assertion that

specific intent is required. Id. Additionally, it contends that materiality in not a required element

to prove a violation of the anti-kickback statute. Id.




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                                               II. LAW

       Under Rule 33, “Upon the defendant’s motion, the court may vacate any judgment and grant

a new trial if the interest of justice so requires.” Fed. R. Crim. P. 33(a). If the motion is based on

grounds other than newly discovered evidence, it must be brought within fourteen days after the

verdict or finding of guilty. Fed. R. Crim. P. 33(b)(2). Generally, a court “should not grant a motion

for new trial unless there would be a miscarriage of justice or the weight of evidence preponderates

against the verdict.” United States v. Wall, 389 F.3d 457, 466 (5th Cir. 2004). “A new trial is

granted only upon demonstration of adverse effects or substantial rights of a defendant.” Id. A

“Rule 33 motion for a new trial ‘goes to the fairness of the trial rather than to the question of guilt

or innocence.’” United States v. McRae, 795 F.3d 471, 481 (5th Cir. 2015) (quoting United States

v. Williams, 613 F.2d 573, 575 (5th Cir. 1980)).

                                           III. ANALYSIS

       Waller moves for a judgement of acquittal or a new trial based on inadequate jury

instructions. Dkt. 650. The court will first set forth the instructions that it provided to the jury on

each count, and then it will consider whether these instructions comport with Fifth Circuit law in

light of Waller’s arguments.

A.     Instructions Given for the Conspiracy Count

       Under the Conspiracy Count, the court charged the jury as follows:

                      For you to find the defendant guilty of this crime, you must be
               convinced that the government has proved each of the following
               beyond a reasonable doubt:
                      First: That the defendant and at least one other person made
                      an agreement to pay or receive remuneration in return for
                      referring Medicare patients or arranging for the furnishing of
                      items or services paid for by Medicare;


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                       Second: That the defendant knew the unlawful purpose of the
                       agreement and joined in it willfully, that is, with the intent to
                       further the unlawful purpose; and
                       Third: That one of the conspirators during the existence of the
                       conspiracy knowingly committed at least one of the overt acts
                       described in the indictment, in order to accomplish some
                       object or purpose of the conspiracy.
                       One may become a member of the conspiracy without
              knowing of all of the details of the unlawful scheme or the identities
              of all of the other alleged conspirators. So, if the defendant, with an
              understanding of the unlawful nature of a plan or scheme knowingly
              and intentionally joins in that plan or scheme on one occasion, that is
              sufficient to convict her of conspiracy, even though she had not
              participated before and even though she played only a minor part.
                       The government need not prove that the alleged conspirators
              entered into any formal agreement, nor that they directly stated
              between themselves all the details of the scheme. Similarly, the
              government need not prove that all the details of the scheme alleged
              in the indictment were actually agreed upon or carried out. Nor must
              it prove that all of the persons alleged to have been members of the
              conspiracy were such, or that the alleged conspirators actually
              succeeded in accomplishing their unlawful objectives.
                       Mere presence at the scene of an event, even with knowledge
              that a crime is being committed, or the mere fact that certain persons
              may be associated with each other, and may have assembled together
              and discussed common aims and interests, does not necessarily
              establish proof of the existence of a conspiracy. Also, a person who
              has no knowledge of a conspiracy, but who happens to act in a way
              which advances some purpose of a conspiracy, does not thereby
              become a conspirator.

Dkt. 604.

B.     Instructions Given for the Kickback Count

       Under the Kickback Count, the court charged the jury as follows:

                     For you to find the defendant guilty of this crime, you must be
              convinced that the government has proved each of the following
              beyond a reasonable doubt:
                     First: That the defendant solicited or received remuneration,
                     including any kickback or bribe, directly or indirectly, overtly
                     or covertly, in cash or in kind from any person;


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                       Second: That the remuneration was offered or paid to induce
                       the defendant to refer an individual to a person for the
                       furnishing or arranging of an item or service;
                       Third: That the item or service was one for which payment
                       may be made in whole or in part under a federal health care
                       program; and
                       Fourth: That the defendant acted knowingly and willfully.
               The word “offer” is defined as a representation expressing the ability and
       desire to pay a remuneration coupled with the intent to induce a desired action.
               The word “knowingly,” as that term has been used from time to time in these
       instructions, means that the act was done voluntarily and intentionally, not because
       of mistake or accident.
               The government is not required to prove the defendant had actual knowledge
       of the Anti-Kickback Statute or specific intent to violate it. The government must
       prove that the defendant willfully committed an act that violated the Anti-Kickback
       Statute.

Dkt. 604.

C.     Specific Intent to Defraud

       Waller argues that “there is no agreement as to the precise articulation of the scienter

standard applicable to the anti-kickback statute.” Dkt. 650 at 9. She asserts that “there is nothing

inherently criminal about accepting something of value in exchange for a referral” and, as such, it

is vital for courts to require specific intent. Id. Waller argues that the Fifth Circuit requires the

Government to “at least show that the defendant had knowledge that the conduct in question was

unlawful and was committed with the specific intent to do something the law forbids.” Dkt. 650 at

10–11. She also contends that the Conspiracy Count has the same mens rea requirement as the

underlying charge of violating the anti-kickback statute. Dkt. 650.

       The Government argues that the Fifth Circuit has expressly rejected a requirement that a

conspiracy charge requires the same level of mens rea as the underlying charge, and instead requires

only a showing of knowledge of the unlawful conduct. Dkt. 667. Moreover, the Government argues

that there is no heightened mens rea requirement for violations of the anti-kickback statute. Id.

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       1.      Conspiracy Count

       The court agrees with the Government. With regard to the Conspiracy Charge, in United

States v. Brooks, the district court advised the jury, with regard to a conspiracy charge, that the

“‘government is not required to prove that a defendant knew the purpose of the agreement was in

fact unlawful, that is, in violation of a statute, but the government must prove the defendant knew

the purpose of the agreement, and the government must prove that the purpose was unlawful.’”

United States v. Brooks, 681 F.3d 678, 699 (5th Cir. 2012) (quoting the district court’s response to

a jury question). The defendants argued that this was a misstatement of the mens rea required to

prove conspiracy and conspiracy to commit wire fraud, the underlying count in Brooks. Id. The

Fifth Circuit noted that the defendants seemed to argue that proving a conspiracy required proving

that a defendant knew his or her conduct was unlawful, regardless of the mens rea of the underlying

substantive offense. Id. It then pointed out that the Supreme Court requires “‘proof of knowledge

of the unlawful conduct,’” not “proof that the conspirators were aware of the criminality of their

objective.’” Id. (quoting Ingram v. United States, 360 U.S. 672, 678, 79 S. Ct. 1314 (1959)).

       Here, the court’s instruction clearly required the jury to find that “the defendant knew the

unlawful purpose of the agreement and joined in it willfully, that is, with the intent to further the

unlawful purpose.” Dkt. 604. Thus, the jury was properly instructed with regard to the intent

required for the Conspiracy Count.

       2.      Kickback Count

       The anti-kickback statute states:

               Whoever knowingly and willfully solicits or receives any
               remuneration (including any kickback, bribe, or rebate) directly or
               indirectly, overtly or covertly, in case or in kind—(A) in return for


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               referring an individual or person for the furnishing or arranging for
               the furnishing of any items or service for which payment may be
               made in whole or in part under a Federal health care
               program . . . shall be guilty of a felony and upon conviction thereof,
               shall be fined not more than $25,000 or imprisoned for not more than
               five years, or both.

42 U.S.C. § 1320a-7b(b)(1)(A). The court’s instructions mirrored these elements. See Dkt. 604.

The statute also specifically states that “a person need not have actual knowledge of this section or

specific intent to commit a violation of this section.” Id. § 1320a-7b(h).

       The court’s instructions provided a definition of “knowingly,” using the definition that is

contained in the Fifth Circuit’s pattern jury charge. Compare Dkt. 604, to Pattern Jury Instructions

(Criminal), District Judges Association, Fifth Circuit, No. 1.37 (2015). But it did not, as noted by

Waller, define “willfully”—at least not in the section addressing the Kickback Charge. See Dkt. 604

(noting that “willfully” meant “intent to further the unlawful purpose” in the section discussing the

Conspiracy Charge but not specifically addressing what “willfully” means in the section addressing

the Kickback Charge).

       Waller takes issue with the charge not including a definition of “willfully.” Dkt. 669. She

does not argue that the Government must prove that she had intent to violate the anti-kickback

statute; she argues only that a showing of a knowing violation “is not enough to prove a violation

of the Anti-Kickback statute.” Id. She argues that the court “should have defined willfully to require

that the Defendant acted with the specific intent to defraud.” Id.

       The Fifth Circuit has addressed the meaning of the instruction that “a person need not have

actual knowledge of this section or specific intent to commit a violation of this section” contained

in § 1320a-7b(h). United States v. St. Junius, 739 F.3d 193, 210 (5th Cir. 2013). In United States



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v. St. Junius, which is similar to the instant case, the Fifth Circuit found that “the Government was

only required to prove that [the defendant] willfully solicited or received money for referring

Medicare patients . . . .” Id. In addition to challenging the court’s willfulness instruction, the

defendant in St. Junius took issue with the Government’s argument to the jury that the jury “need

only prove that [the defendant] knowingly received commission payments.” Id. at 211. The

defendant asserted that the willfulness element requires a showing that the defendant knew that

receiving commissions for referring patients was illegal. Id. The Fifth Circuit specifically stated that

this was an “erroneous” construction and that the prosecutor “correctly explained that the

Government need only prove that [the defendant] knowingly and willfully received commissions in

exchange for referrals.” Id.

        The court’s instructions in this case—“The government is not required to prove the defendant

had actual knowledge of the Anti-Kickback Statute or specific intent to violate it [and the]

government must prove that the defendant willfully committed an act that violated the

Anti-Kickback Statute”—mirrored the requirements outlined in St. Junius. Dkt. 604. The court

clearly required a knowing and willful violation and finds that an actual definition of “willful” was

unnecessary. The court finds no plain error. Waller’s motion for a new trial on the grounds that the

court did not sufficiently state in the mens rea requirements for the Conspiracy Charge and the

Kickback Charge is DENIED.

D.      Materiality

        Waller also argues that materiality is an essential element of both conspiracy to violate the

anti-kickback statute and the anti-kickback statute itself. Dkt. 669. She contends that courts must

infer that Congress meant to incorporate materiality into the statute when a statute uses the common-


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law term “defraud.” Dkt. 650 at 17. Since the False Claims Act is a fraud-based statute and the anti-

kickback statute is part of the False Claims Act, she argues that a materiality component should be

inferred—even though the anti-kickback statute does not use the term “defraud.” Id. at 18–19. She

asserts that the anti-kickback statute, “like the other fraud-based crimes, penalizes those who intend

to deceive others through knowing misrepresentations or concealments of the truth.” Id. at 19.

        The Government argues that the anti-kickback statute does not require materiality. Dkt. 667.

The Government acknowledges that the Supreme Court has inferred a materiality element in fraud

statutes that involve a “scheme to defraud,” but points out that neither the conspiracy charge not the

anti-kickback statute involves a “scheme to defraud.” Id.

        In reply, Waller asserts that whether the statute requires a “scheme to defraud” is irrelevant

because, regardless, the anti-kickback statute “criminalizes the fraudulent behavior of making

medical decisions based on one’s personal financial interests, as opposed to the best interests of the

patients.” Dkt. 669 at 4.

        Waller relies primarily on Neder v. United States, 527 U.S. 1, 23, 119 S. Ct. 1827 (1999).

In Neder, the defendant was charged with violating various criminal statutes relating to fraud. 527

U.S. at 4. The district court did not submit the issue of materiality to the jury with regard to charges

involving tax fraud. Id. The U.S. Supreme Court held that “materiality is an element of the federal

mail fraud, wire fraud, and bank fraud statutes under which [the Neder defendant] was also charged.”

Id. The charges in Neder included “devising and executing various schemes to defraud lenders in

connection with . . . land acquisition and development loans.” Id. at 6. The Court noted that the

statutes did not define the phrase “scheme or artifice to defraud” and did not mention “materiality.”

Id. at 20. It instructed, however, that courts should not stop at the text of the statutes because


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“‘[w]here words are employed in a statute which had at the time a well-known meaning at common

law or in the law of this country, they are presumed to have been used in that sense.’” Id. at 22

(quoting Standard Oil Co. of N.J. v. United States, 221 U.S. 1, 59, 31 S. Ct. 502 (1911)). Because

in common law fraud requires a knowing “misrepresentation or concealment of a material fact,” and,

in fact, “the common law could not have conceived of ‘fraud’ without proof of materiality,” the

Court found that it must “presume that Congress intended to incorporate materiality unless the

statute otherwise dictates.” Id. at 22–23 (citations and quotations omitted).

       While the court agrees with Waller that the anti-kickback statute is related to fraud, the court

finds that Congress’ failure to include the term “defraud” or “fraud” in the statute precludes a

presumption that Congress intended to incorporate materiality. The Neder court presumed a

materiality element due to the common-law meaning of a term that Congress included in the statute.

Here, there is no authority suggesting it is appropriate to make a double presumption that (1)

Congress intended to include the term “defraud” and (2) as such it must have meant to require

“materiality.” Waller seeks to read more into the statute than it requires. Waller’s motion for a new

trial based on the court’s failure to include a materiality element into the Conspiracy Charge and the

Kickback Charge is DENIED.

                                         IV. CONCLUSION

       Waller’s motion for judgment of acquittal or in the alternative a new trial (Dkt. 650) is

DENIED.

       Signed at Houston, Texas on June 13, 2017.



                                                                   Gray H. Miller
                                                             United States District Judge


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